

Moret, LLC v NewBank (2021 NY Slip Op 03030)





Moret, LLC v NewBank


2021 NY Slip Op 03030


Decided on May 12, 2021


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 12, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

CHERYL E. CHAMBERS, J.P.
LEONARD B. AUSTIN
HECTOR D. LASALLE
PAUL WOOTEN, JJ.


2019-01920
 (Index No. 608403/18)

[*1]Moret, LLC, respondent, 
vNewBank, appellant, et al., defendants.


Weiss Zarett Brofman Sonnenklar &amp; Levy, P.C., New Hyde Park, NY (Michael J. Spithogiannis of counsel), for appellant.
Levy &amp; Levy, Great Neck, NY (Joshua Levy and Kenneth Cooperstein of counsel), for respondent.



DECISION &amp; ORDER
In an action to foreclose a tax lien, the defendant NewBank appeals from an order of the Supreme Court, Nassau County (Julianne T. Capetola, J.), entered January 28, 2019. The order denied that defendant's motion to vacate its default in answering the complaint and, thereupon, to dismiss the action or, alternatively, for leave to interpose a late answer.
ORDERED that the order is affirmed, with costs.
It is undisputed that the defendant NewBank transferred the property encumbered by the subject tax lien to a third party approximately four months after this action was commenced. Under these circumstances, the Supreme Court properly determined that NewBank no longer had any interest in the property and, therefore, lacked standing to defend the action (see US Bank N.A. v Davids, 188 AD3d 943; Totaram v Gibson, 179 AD3d 451; Wells Fargo Bank, N.A. v Munoz, 169 AD3d 609; NYCTL 1996-1 Trust v King, 304 AD2d 629; Bancplus Mtge. Corp. v Galloway, 203 AD2d 222).
In light of our determination, we do not reach the merits of NewBank's motion.
CHAMBERS, J.P., AUSTIN, LASALLE and WOOTEN, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








